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          IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION

ANDREW H. WARREN,

                   Plaintiff,

v.                                              CASE NO. 4:22cv302-RH-MAF

RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida,

               Defendant.
_________________________________

NOTICE OF APPEAL OF FINAL JUDGMENT OF PLAINTIFF ANDREW
                       H. WARREN

      NOTICE IS HEREBY GIVEN that Plaintiff Andrew H. Warren hereby

appeals to the United States Court of Appeals for the Eleventh Circuit from the

Final Order (ECF No. 150) and Judgment (ECF No. 151) of the United States

District Court for the Northern District of Florida entered on January 20, 2023, the

Honorable Robert L. Hinkle presiding.



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      Dated: February 14, 2023


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                                CERTIFICATE OF SERVICE

      I hereby certify that on February 14, 2023, I served a true and correct copy

of the foregoing document via electronic notice by the CM/ECF system on all

counsel or parties of record.




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